         Case 1:21-cv-00100-EGS Document 160 Filed 09/28/22 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 NANCY GIMENA HUISHA-HUISHA, on
 behalf of herself and others similarly situated,

                      Plaintiffs,

         v.                                                         Civ. A. No. 21-100 (EGS)

 ALEJANDRO MAYORKAS, Secretary of
 Homeland Security, et al.,

                      Defendants.


    DEFENDANTS’ SURREPLY IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
                    PARTIAL SUMMARY JUDGMENT
        Defendants respectfully submit this surreply to address Plaintiffs’ statement in their reply brief

that Defendants “do not contest that vacatur is appropriate if the Title 42 policy is arbitrary and

capricious.” Pls.’ Reply 24. Defendants do not concede that vacatur of the Title 42 policy would be

an appropriate remedy. Defendants did not address the appropriateness of vacatur in their opposition

brief because Plaintiffs did not analyze the issue in their opening brief and because the issue is

premature at this stage, where Plaintiffs are moving only for partial summary judgment on one count

of their Second Amended Complaint—their arbitrary-and-capricious claim in Count VI. See Second

Am. Compl. ¶¶ 107–11, ECF No. 131; Pls.’ Mot. for Partial Summ. J., ECF No. 144. If the Court

were to grant Plaintiffs’ motion for partial summary judgment, that order would be interlocutory and

ineffective until the Court enters final judgment.

        It is well established that “grants of partial summary judgment are generally considered

interlocutory orders.” State of Alaska v. FERC, 980 F.2d 761, 764 (D.C. Cir. 1992). Under Federal

Rule of Civil Procedure 54(b), “any order or other decision, however designated, that adjudicates fewer

than all the claims or the rights and liabilities of fewer than all the parties does not end the action as

to any of the claims or parties and may be revised at any time before the entry of a judgment

adjudicating all the claims and all the parties’ rights and liabilities.” Fed. R. Civ. P. 54(b); see also 10
          Case 1:21-cv-00100-EGS Document 160 Filed 09/28/22 Page 2 of 3




Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. Civ. § 2651 (4th ed. Apr. 2022 update)

(“[E]ven though denominated a ‘judgment,’ a nonappealable partial or interlocutory summary

judgment under Rule 56 does not qualify as a judgment under Rule 54(a).”). Rather, a partial summary

judgment order “is merely a pretrial adjudication that certain issues shall be deemed established for

the trial of the case.” Fed. R. Civ. P. 56 advisory committee notes, 1946 amendment; see also Alberty-

Velez v. Corporacion de Puerto Rico Para La Difusion Publica, 361 F.3d 1, 6 n.5 (1st Cir. 2004) (same); Streber

v. Hunter, 221 F.3d 701, 737 (5th Cir. 2000) (same). It follows that if a court nevertheless grants any

relief based on the interlocutory order, such relief would not be effective until entry of final judgment,

with limited exceptions, such as an interlocutory injunction. See 28 U.S.C. § 1292(a)(1).

        Because any order granting partial summary judgment would be interlocutory and ineffective

until final judgment except in limited circumstances, the Court should not grant any relief premised

on any such order but should defer consideration of the issue of remedy until the Court has

adjudicated all of Plaintiffs’ claims. Notably, Plaintiffs’ prayer for relief does not request vacatur of

the Title 42 Policy. See Second Am. Compl., Prayer for Relief, ECF No. 131. Plaintiffs’ prayer for

relief seeks a variety of remedies, including that the Court “[d]eclare unlawful the Title 42 Process as

applied to Plaintiffs and Class Members” and “[e]nter an order enjoining Defendants from applying

the Title 42 Process to Plaintiffs and Class Members.” See id.

        Even if vacatur were an appropriate remedy under the Administrative Procedure Act, whether

it should be granted in an individual case would depend on factors that are best considered after the

Court has resolved all claims and is preparing to enter final judgment. As the D.C. Circuit has

explained, “the decision whether to vacate depends on the seriousness of the order’s

deficiencies . . and the disruptive consequences of an interim change that may itself be changed.”

Sugar Cane Growers Co-op. of Fla. v. Veneman, 289 F.3d 89, 98 (D.C. Cir. 2002) (quoting Allied-Signal, Inc.

v. U.S. Nuclear Regul. Comm’n, 988 F.2d 146, 150–51 (D.C. Cir. 1993)). Neither party has addressed

these factors in their briefing on Plaintiffs’ motion for partial summary judgment. Nor have they

addressed the appropriate scope of any potential vacatur order. Indeed, in their opening brief,

Plaintiffs did not explain why vacatur would be an appropriate remedy. Because they only addressed

                                                      2
         Case 1:21-cv-00100-EGS Document 160 Filed 09/28/22 Page 3 of 3




why injunctive relief would be appropriate, see ECF No. 144-1 at 23–26, Defendants correspondingly

addressed the propriety of an injunction in their opposition brief, see ECF No. 147 at 36–37.

Defendants made no concession that vacatur is proper and reserve the right to contest the issue should

the Court grant Plaintiffs’ motion for partial summary judgment.


Dated: September 22, 2022                             Respectfully submitted,


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